                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                            3:07cr79-FDW


UNITED STATES OF AMERICA,                      )
                                               )
                               Plaintiff       )
                                               )
               v.                              )                 ORDER
                                               )
EDGAR ORTIZ BARRAZA (5),                       )
                                               )
                               Defendant       )



This MATTER is before the Court on its own motion to administratively close the case as to

following defendant EDGAR ORTIZ BARRAZA . The defendant appears to remain a fugitive

with no activity taking place in this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendant.

                                                   Signed: April 27, 2011




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